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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
TIM PIERCE,                          )
                                     )
            Plaintiff,               )       Civ. A. No. 1:20-cv-00693
                                     )
            v.                       )
                                     )
LIFEZETTE, INC.,                     )
                                     )
            Defendant.               )

     AFFIDAVIT OF DAN BOOTH IN SUPPORT OF TIM PIERCE’S MOTION FOR
         DEFAULT JUDGMENT AGAINST DEFENDANT LIFEZETTE, INC.

     I, Dan Booth, declare as follows.

1.   I am an attorney licensed to practice in the commonwealth of Massachusetts and I have

been admitted to appear in this action as pro hac vice counsel for plaintiff Tim Pierce (“Pierce”).

I submit this affidavit in support of Pierce’s Motion for Default Judgment against defendant

Lifezette, Inc. (“Lifezette”) and to place before the Court evidence relied on by Pierce in his

accompanying motion.

2.   The facts set forth herein are within my personal knowledge except where otherwise

indicated and, if sworn as a witness, I could and would testify competently thereto under oath.

3.   Lifezette has not filed or served a response, appeared in this action, or communicated with

me in any way regarding this action.

4.   The “Full Terms of Use Document” available on Lifezette’s website (the “Website”) at

https://www.lifezette.com/files/2015/05/LifeZette-Terms-of-Use.pdf states, at ¶ 11, “The

designated Copyright Agent for LifeZette is: Cooley LLP[.]”

5.   I conferred with counsel at Cooley LLP on March 11, 2020 by email, sending a courtesy

copy of the complaint filed in this action (the “Complaint”). I was informed by counsel, “We no

longer represent Lifezette; our representation ended well over two years ago.”
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6.    The “Terms of Use” page available on the Website at https://www.lifezette.com/privacy-

policy/our-terms/ states, “If you are concerned we have used a photo belonging to you without

permission, please contact us at termsofuse@lifezette.com.”

7.    On behalf of Pierce, on April 10, 2020, I sent courtesy copies of the initial March 10, 2020

filings and the proof of service filed on March 17, 2020 in this action to that email address,

explaining: “Your registered agent was served with process on March 13, 2020. A timely

response to the complaint was due on or by April 3, 2020. You are now in default. If we do not

hear from you by close of business on Monday, April 13, 2020, Mr. Pierce will seek entry of

default and proceed toward default judgment.” Lifezette has not responded.

8.    In 2016, Pierce discovered the unauthorized use of two of his photographs, including the

photograph at issue in this action (the “Photograph”), in connection with five articles published

on the Website from May through October 2016.

9.    On behalf of Pierce, on November 30, 2016 and January 2, 2017, I sent letters to

Lifezette’s predecessor Ingraham Media Group, Inc. (“IMG”), detailing and seeking redress for

the infringing uses discovered in 2016. IMG did not respond and did not take down the

photographs in response.

10.   IMG published three more articles featuring the Photograph on its Website in February and

March 2017, and prominently displayed the Photograph in Facebook and Twitter posts directing

readers to those articles.

11.   On behalf of Pierce, on October 2, 2017, I sent a letter and draft complaint to IMG at its

termsofuse@lifezette.com email address, detailing its 2016 and 2017 unauthorized, unattributed

uses of his photographs, and detailing the terms of the Creative Commons Attribution 2.0

Generic license by which he makes the photographs (including the Photograph) available for



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reproduction, distribution, and display. A true and correct copy of that draft complaint is attached

hereto as Exhibit A.

12.   In response, IMG took down its infringing copies of Pierce’s photographs from its Website

and Facebook and Twitter posts.




13.   According to publicly available corporate records I obtained from the Delaware

Department of State’s Division of Corporations, IMG was formally dissolved effective

December 27, 2017, upon filing a form of dissolution on that date. According to publicly

available corporate records I obtained from the District of Columbia’s Department of Consumer

and Regulatory Affairs, Lifezette registered with the Department as a foreign corporation

effective January 3, 2018. Upon information and belief, Lifezette took control of the Website on

or before that date.

14.   In May 2017, I saved an electronic copy of the marketing “Media Kit” publicly available

on the Website dated 2017. The Media Kit identified the Website’s “Editorial leadership”:

Editor-in-Chief Laura Ingraham, Managing Editor Maureen Mackey, Videographer Andrew

Brice, along with a digital media producer and the editors of five “content channels” on the




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Website (PoliZette, HealthZette, MomZette, PopZette, and FaithZette). A true and correct copy

of the Media Kit is attached hereto as Exhibit C.

15.   According to a publicly available filing on the United States Securities and Exchange

Commission’s Electronic Data Gathering, Analysis, and Retrieval (EDGAR) website at

https://www.sec.gov/Archives/edgar/data/1626836/000162683614000001/xslFormDX01/primar

y_doc.xml, IMG issued a Notice of Exempt Offering of Securities dated December 5, 2014. The

Notice identifies Laura Ingraham as one of IMG’s two executive officers and directors. A true

and correct copy of that Notice is attached hereto as Exhibit D.

16.   According to publicly available corporate records I obtained from the website of the

District     of   Columbia’s   Department     of       Consumer     and     Regulatory   Affairs   at

https://corponline.dcra.dc.gov/BizEntity.aspx/ViewContact?bizEntityContactId=768673&current

TabConfigurationId=633, Lifezette identifies Laura Ingraham as one of its three governors and

beneficial owners. A true and correct copy of that website page is attached hereto as Exhibit E.

17.   Upon information and belief, Maureen Mackey replaced Laura Ingraham as the Website’s

editor-in-chief in November 2017 and held the position until 2020. According to the publicly

available profile for Maureen Mackey I obtained from the website LinkedIn at

https://www.linkedin.com/in/maureen-mackey-4426ab22/,             Ms.     Mackey   was   LifeZette’s

Managing Editor and Chief Editor from April 2015 to October 2017, and was its Editor-in-Chief

from November 2017 to January 2020. The “About” section of the profile states, “Previously

served as editor-in-chief – and before that, managing editor – of LifeZette, a digital startup.” The

“Experience” section of the profile states, “Before starting my own company, I planned, created,

guided, and oversaw the editorial at LifeZette for nearly 5 years[.]” A true and correct copy of

that LinkedIn profile page is attached hereto as Exhibit F.



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18.   The “Terms of Use” page available on the Website at https://www.lifezette.com/privacy-

policy/our-terms/ states, “Except for photos clearly in the public domain or when our use is a fair

use, LifeZette always seeks permission from copyright owners for photo use. We sometimes use

photos when, despite our diligent and good faith efforts, we can’t reach the copyright owner.”

IMG had the same stated permission policy when it ran the Website. In November 2016 I saved

an electronic copy of the publicly available Terms of Use page at the same Website address. A

true and correct copy of that Terms of Use page is attached hereto as Exhibit G.

19.   In March 2019, I reviewed a video entitled “Elizabeth Warren Releases Heritage DNA

Results,” as published on the Website at https://www.lifezette.com/video/elizabeth-warren-

releases-heritage-dna-results/, and as published on each of the nine other Website pages listed in

Paragraph 15 of the Complaint, and I confirmed that the Photograph was prominently featured in

the Video in each of those ten publications on the Website.

20.   On May 19, 2020, I reviewed the three articles on the Website listed in Paragraph 16 of the

Complaint and the three Facebook posts listed in Paragraph 17 of the Complaint, and I confirmed

that those articles and posts remain live on the Website and Lifezette’s Facebook page, and that

the Photograph is still prominently featured in each.



      I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed this 28th day of May in Concord, Massachusetts.




                                                 Dan Booth (Massachusetts Bar No. 672090)
                                                 DAN BOOTH LAW LLC
                                                 60 Thoreau Street #121
                                                 Concord, MA 01742
                                                 dan@danboothlaw.com

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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
TIM PIERCE,                          )
2 Village Lane                       )
Berlin, MA 01503                     )
                                     )
                  Plaintiff,         )       COMPLAINT
                                     )
               v.                    )       JURY TRIAL DEMANDED
                                     )
INGRAHAM MEDIA GROUP, INC.           )       Civ. A. No._________________
and LAURA INGRAHAM,                  )
                                     )
                  Defendants.        )

      Plaintiff Tim Pierce brings this civil action for copyright infringement in violation of the

Copyright Act of 1976, as amended, 17 U.S.C. §§ 101 et seq., and violations of the integrity of

copyright management information under the Digital Millennium Copyright Act of 1998, as

codified in part at 17 U.S.C. § 1202. Defendant Ingraham Media Group, Inc. wrongfully copied

two of Mr. Pierce’s photographs and displayed and distributed them online, on its website known

as LifeZette and elsewhere, without permission and without attribution, knowingly providing and

distributing the photographs with false, altered, and removed copyright management

information. Defendant Laura Ingraham also wrongfully copied the photographs and displayed

and distributed them online on Facebook, without permission and without attribution. Further, as

director and executive officer of Ingraham Media Group, Inc. and editor-in-chief of its LifeZette

website, Ms. Ingraham is jointly and severally liable for its infringements and copyright

management information violations in that she had the right and ability to supervise its wrongful

activities in which she had a direct financial interest.

      Mr. Pierce further states and alleges as follows.
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                                           PARTIES

1.   Plaintiff Tim Pierce (“Pierce”) is a photographer and photojournalist who owns the

     copyrights in a multitude of his photographs, which he licenses to online and print

     publications, including the two photographs at issue in this action. Pierce is a citizen and

     resident of Berlin, Massachusetts.

2.   Defendant Ingraham Media Group, Inc. (“IMG”) is a domestic corporation with its

     principal place of business at 1055 Thomas Jefferson Street NW, Washington, DC 20007,

     incorporated under the laws of Delaware in October 2014. At all material times hereto

     IMG owned, operated, and controlled the website known as LifeZette, located at the web

     address www.lifezette.com (the “Website”).

3.   Defendant Laura Ingraham (“Ingraham”) is an individual who, upon information and

     belief, resides within the District of Columbia, and maintains a principal place of

     business at 400 North Capitol Street NW, Washington, DC 20001 or, in the alternative, at

     1055 Thomas Jefferson Street NW, Washington, DC 20007. Ingraham is, and was at all

     times material hereto, an executive officer and director of IMG, and Editor-in-Chief and

     co-founder of the Website. At all material times hereto she has had a direct financial

     interest in IMG and the Website and the right and ability to supervise their activities.

                              JURISDICTION AND VENUE

4.   This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a) because the claims

     arise under the federal copyright laws.

5.   This Court has personal jurisdiction over IMG and Ingraham (collectively “Defendants”)

     pursuant to D.C. Code § 13-422 and 13-423(a) because each Defendant maintains a


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     principal place of business in this District, maintains sufficient systematic and continuous

     contacts with this District, or transacted business in this District from which Pierce’s

     injuries arise; and Ingraham is, upon information and belief, domiciled in this District.

6.   Venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the events that

     give rise to the claims occurred in this District, and under 28 U.S.C. § 1400(a) because

     Defendants or their agents reside or may be found in this District.

                      ALLEGATIONS COMMON TO ALL COUNTS

                             Pierce’s Copyrighted Photographs

7.   On November 2, 2012, four days before Elizabeth Warren’s election to the United States

     Senate, Pierce took various photographs at a rally for her campaign in Auburn,

     Massachusetts. One photograph taken by Pierce at the rally, entitled Elizabeth Warren at

     a campaign rally, depicts Senator Warren with her right arm upraised (the “Rally

     photograph”). A copy of the Rally photograph, as it appears on the website Flickr at

     https://www.flickr.com/photos/qwrrty/8152000438, is attached hereto as Exhibit A.

8.   Another photograph taken by Pierce at the rally, entitled Elizabeth Warren and Tim

     Murray, depicts Senator Warren holding a microphone, with then-Lieutenant Governor of

     Massachusetts Tim Murray behind her (the “Murray photograph”). A copy of the Murray

     photograph, as it appears on the website Flickr at https://www.flickr.com/photos/qwrrty/

     8152000142/, is attached hereto as Exhibit B.

9.   The U.S. Copyright Office registered Pierce’s copyright in the Rally photograph under

     Copyright Registration Number VA 1-910-349, effective February 12, 2014. A copy of

     the Certificate of Registration is attached hereto as Exhibit C.


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10.   The U.S. Copyright Office registered Pierce’s copyright in the Murray photograph under

      Copyright Registration Number VA 2-059-052, effective November 28, 2016. A copy of

      the Certificate of Registration is attached hereto as Exhibit D.

11.   Pierce is the author of the Rally photograph and the Murray photograph (together, the

      “Photographs”) and has continuously owned all rights thereto, including their copyrights.

                  The Creative Commons Attribution 2.0 Generic License

12.   On November 3, 2012, Pierce uploaded the Photographs to the website Flickr under a

      Creative Commons Attribution 2.0 Generic license (“CC BY 2.0 License”), where the

      Photographs and hyperlinks to the CC BY 2.0 License have been displayed ever since.

13.   On Flickr, each Photograph is displayed immediately above and in close proximity to

      Pierce’s name, its title, and a prominent statement “Some rights reserved,” highlighted as

      a hyperlink to https://creativecommons.org/licenses/by/2.0/, which is a brief summary of

      the terms of the CC BY 2.0 License. A copy of that summary is attached hereto as Exhibit

      E. The summary prominently specifies the licensed terms of use, including the statement

      (with boldface and underlining in original):

         Attribution — You must give appropriate credit, provide a link to the license,
         and indicate if changes were made. You may do so in any reasonable manner,
         but not in any way that suggests the licensor endorses you or your use.

      In that statement, the words “appropriate credit” are highlighted as a hyperlink to a pop-

      up window. The text in the pop-up window states, in pertinent part, “If supplied, you

      must provide the name of the creator and attribution parties, a copyright notice, a license

      notice, a disclaimer notice, and a link to the material.” A copy of the summary displaying

      the “appropriate credit” pop-up window is attached hereto as Exhibit F.


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14.   That summary further includes the prominent statement: “This is a human-readable

      summary of (and not a substitute for) the license.” That statement, in turn, includes a

      highlighted hyperlink to https://creativecommons.org/licenses/by/2.0/legalcode, which is

      the CC BY 2.0 License in full. A copy of the full license is attached hereto as Exhibit G.

15.   The CC BY 2.0 License grants licensees a worldwide, royalty-free, non-exclusive license

      to reproduce, publicly display, and distribute copies of the licensed work (in this case, the

      Photographs) in all media and formats, as Paragraph 3 of the license provides.

16.   Under the CC BY 2.0 License, that broad grant is expressly made subject to and limited

      by certain restrictions. Paragraph 4(a) of the license requires a licensee to include a copy

      of the license itself, or a Uniform Resource Identifier for the license, with every copy of

      the work publicly displayed or distributed. Paragraph 4(a) of the license further requires

      that a licensee “may not offer or impose any terms on the Work that alter or restrict the

      terms of this License or the recipients’ exercise of the rights granted hereunder,” and

      “may not sublicense the Work.” Paragraph 4(b) requires a licensee to give the original

      author (in this case, Pierce) credit, reasonable to the medium or means utilized by the

      licensee, by conveying the author’s name and the work’s title, if supplied (as Pierce did).

        Defendants’ Unlicensed and Unattributed Use of Tim Pierce’s Photographs

17.   Without permission or authorization from Pierce, IMG reproduced and displayed copies

      of the Photographs on the Website and on other websites without attribution.

18.   IMG reproduced and displayed a slightly cropped copy of the Rally photograph, or a

      derivative image cropped from the Rally photograph, in connection with an article




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      published on the Website entitled “WikiLeaks: Warren Warned Hillary Not to Push Myth

      of Rosy Economy,” dated October 11, 2016 (the “Wikileaks Article”).

19.   IMG reproduced and displayed copies of the Murray photograph, or derivative images

      cropped from the Murray photograph, in connection with seven articles published on the

      Website (collectively, with the Wikileaks Article, the “Articles”), entitled:

      •   “Like Trump, Warren Buys Low, Sells High,” dated May 25, 2016 (and
          updated on May 26, 2016) (the “Trump Article”);

      •   “Hillary’s Warren Decoy,” dated June 10, 2016 (the “Decoy Article”);

      •   “Hillary’s Pocahontas Lovefest,” dated June 28, 2016 (the “Lovefest Article”);

      •   “Elizabeth Warren: The ‘Nasty’ Hypocrite,” dated October 24, 2016 (the
          “Nasty Article”);

      •   “Elizabeth Warren Less Popular Than ‘Generic’ Democrat,” updated February
          15, 2017 (the “Generic Article”)

      •   “Curt Schilling Endorses Elizabeth Warren’s GOP Opponent,” dated (and
          updated) March 6, 2017 (the “Schilling Article”); and

      •   “14 Early 2020 Candidates,” dated March 9, 2017 (the “Candidates Article”).

20.   In connection with the three Articles with 2017 publication dates (the Generic Article, the

      Schilling Article, and the Candidates Article), IMG displays copies of the Murray

      photograph or of images cropped from the Murray photograph directly on its Website,

      either immediately above or as part of the corresponding Articles. Copies of the Generic

      Article, the Schilling Article, and the infringing page of the Candidates Article are

      attached hereto as Exhibit H.

21.   In connection with each of the five Articles with a 2016 publication date, rather than

      displaying a Photograph or derivative image on its Website immediately above or as part

      of the corresponding Article, IMG created and uploaded to its Website a JPG file of a

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      cropped copy of the Rally photograph or the Murray photograph, copy either by itself or

      in tandem with a photograph depicting Hillary Clinton. Copies of the JPG files IMG

      uploaded to its Website for the five 2016 Articles are attached hereto as Exhibit I.

22.   IMG enabled and facilitated further acts of infringement by creating metatags that direct

      and cause third-party sites such as Facebook, Twitter, Pinterest, and blog aggregators to

      reproduce and display the Photographs when users of those sites share the Articles.

23.   IMG has further infringed on Pierce’s copyrights by employing those metatags elsewhere

      on its Website to reproduce and display the Photographs in connection with IMG’s

      hyperlinks to the Articles.

24.   Both Defendants directly infringed Pierce’s copyrights by displaying and distributing the

      Photographs on such third-party sites when sharing the Articles. Copies of screenshots

      showing seven instances of infringement by IMG through its posts on its LifeZette

      Facebook account are attached hereto as Exhibit J. Copies of screenshots showing two

      instances of infringement by IMG through its posts on its LifeZette Twitter account are

      attached hereto as Exhibit K. Copies of screenshots showing another seven instances of

      infringement by Ingraham through her posts on her personal Facebook account are

      attached hereto as Exhibit L.

25.   Each Defendant caused thousands of additional acts of infringement when their

      infringing posts were shared by other Facebook users.

26.   Defendants profited from the infringements by avoiding the costs of complying with the

      CC BY 2.0 License or a reasonable license fee. They further profited by displaying the

      Photographs with hyperlinks to the Articles, driving online traffic from third-party sites to


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      IMG’s Website, where each Article was surrounded by at least a dozen revenue-

      generating advertisements and links to sponsored content on other third-party websites.

      Upon information and belief, IMG received that revenue directly, and Ingraham had a

      material financial interest in that IMG revenue through her positions as an executive

      officer and director of IMG, and as the Website’s Editor-in-Chief.

27.   Pierce displayed the Photographs on Flickr along with his name and the titles of the

      Photographs. Defendants excluded that identifying information when they copied,

      displayed, and distributed the Photographs.

28.   Pierce also displayed the Photographs on Flickr along with a link to a Creative Commons

      website page, on which the CC BY 2.0 License set forth the terms and conditions for use

      of the Photographs. Defendants excluded those terms and conditions, any Uniform

      Resource Identifier for the license, and any link thereto, when they copied, displayed, and

      distributed the Photographs.

29.   When IMG copied, displayed, and distributed the Photographs, it intentionally removed

      information identifying Pierce, the titles of the Photographs, and the terms and conditions

      for their use. IMG’s removal was without license or legal right, and with the knowledge

      or reasonable grounds to know that it would enable, facilitate, or conceal IMG’s own acts

      of infringement and infringing acts by others.

30.   When IMG displayed and distributed copies of the Photographs on its Website, it

      provided copyright management information falsely identifying itself as copyright owner.

31.   A copyright tag on the bottom of each Website page that displays the Photographs states

      “© 2017 Ingraham Media, Inc. All Rights Reserved.”


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32.   Further, the Website’s Terms of Use page, http://www.lifezette.com/our-terms/, available

      through hyperlinks displayed alongside the copyright tag on the bottom of those Website

      pages, falsely claims ownership or licensed use of the Website including the Photographs.

      A copy of the Website’s Terms of Use page is attached hereto as Exhibit M.

33.   The first sentence of the Terms of Use page (with boldface in original) states in full:

         The website located at www.LifeZette.com (the “Site”) collectively the
         “Services” are copyrighted works belonging to LifeZette, Inc. (“LifeZette”, “us”,
         “our”, and “we”).

34.   LifeZette, Inc. is not registered as a valid domestic or foreign corporation with the

      Department of Consumer and Regulatory Affairs for the District of Columbia. Upon

      information and belief, LifeZette, Inc. is not a valid corporate entity incorporated in this

      District or elsewhere. Upon information and belief, LifeZette, Inc. is a d/b/a name,

      business name, alias, or alter ego through which IMG operates the Website.

35.   The second of the two paragraphs of the Website’s Terms of Use page states in full:

         Except for photos clearly in the public domain or when our use is a fair use,
         LifeZette always seeks permission from copyright owners for photo use. We
         sometimes use photos when, despite our diligent and good faith efforts, we can’t
         reach the copyright owner.

36.   The Photographs are not in the public domain. IMG’s use of the Photographs is not a fair

      use. IMG never sought permission from Pierce, even after he contacted IMG.

37.   The Website’s Full Terms of Use Document, http://cdn.lifezette.com/wp-content/uploads/

      2015/05/LifeZette-Terms-of-Use.pdf (the “Full Terms of Use Document”), is accessible

      through a hyperlink on the Website’s Terms of Use page under the text, “View our Full




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      Terms of Use Document.” A copy of the Full Terms of Use Document is attached hereto

      as Exhibit N. It sets forth terms and conditions that purports to bind the Website’s users.

38.   The Full Terms of Use Document provides copyright management information that

      falsely identifies LifeZette, Inc., or IMG under that name, as the copyright owner of all of

      the Website’s contents, including the Photographs; and that falsely purports to impose

      more restrictive terms and conditions for the use of Website content, including the

      Photographs, than Pierce set in the CC BY 2.0 License for the Photographs.

39.   The first sentence of the Website’s Full Terms of Use Document page restates in full the

      first sentence of the Terms of Use page:

         The website located at www.LifeZette.com (the “Site”) collectively the
         “Services” are copyrighted works belonging to LifeZette, Inc. (“LifeZette”, “us”,
         “our”, and “we”).

40.   Paragraph 2.1 of the Full Terms of Use Document purports to grant to Website users a

      revocable license to “view, download and print Content provided by LifeZette (‘LifeZette

      Content’)” subject to certain specified conditions, including that users: “may access and

      use the LifeZette Content solely for personal, informational, non-commercial and internal

      purposes”; “may not modify or alter the LifeZette Content”; and “may not copy or

      distribute any photos … in the LifeZette Content apart from their accompanying text.”

      Paragraph 2.2 of that document defines “Content” to include “photos.”

41.   The Photographs that IMG displays and provides on its Website are copyrighted works

      owned by Pierce, not “copyrighted works belonging to LifeZette, Inc.” or to IMG.

42.   Unlike IMG’s Full Terms of Use Document with its extensive limitations, the CC BY 2.0

      License is irrevocable and allows for free sharing and adaptation of the Photographs for


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      any purpose including commercial use, subject to the license’s conditions, including the

      requirement of attribution.

43.   Defendants’s full compliance with the CC BY 2.0 License would have been reasonably

      practicable at all times material hereto.

44.   The copyright in a work subject to the CC BY 2.0 License is infringed by use of the work

      in a manner that is outside the scope of the license.

45.   Defendants have used the Photographs in a manner that is outside the scope of the CC

      BY 2.0 License by distributing and displaying the Photographs without a copy of, or

      Uniform Resource Identifier for, the license; without appropriate credits identifying

      Pierce and the titles of the Photographs; and with more restrictive terms and conditions

      for use than the CC BY 2.0 License imposes.

46.   Defendants are not licensees under the CC BY 2.0 License. Their use, reproduction,

      display, and distribution of each Photograph without license or permission from Pierce or

      other legal right is a violation of Pierce’s exclusive rights to the Photograph under 17

      U.S.C. § 106 and an infringement of his copyright under 17 U.S.C. § 501(a).

47.   IMG has willfully infringed Pierce’s copyrights in the Photographs.

48.   At all times material hereto Ingraham, as an executive officer and director of IMG and

      the Website’s Editor-in-Chief, had the authority to control, and exercised control over, the

      editorial policies and practices of the Website, including its stated practice to “sometimes

      use photos” despite making no contact with the copyright owner.




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      After Tim Pierce Gave Ingraham Media Group Notice of Its Infringing Acts, It Willfully
        and Knowingly Continued Its Unlicensed and Unattributed Use of His Photographs

49.      The Website’s Terms of Use page states, “If you are concerned we have used a photo

         belonging to you without permission, please contact us at termsofuse@lifezette.com.”

50.      Paragraph 12.10 of the Full Terms of Use Document provides, under the heading

         “Contact Information,” the email address termsofuse@lifezette.com and the street

         address 1055 Thomas Jefferson Street, Suite 301, Washington, DC 20007. Paragraph 12.4

         of that Document states that “LifeZette is located at the address in Section 12.10.”

51.      On November 30, 2016, Pierce’s counsel emailed a letter to termsofuse@lifezette.com,

         addressing IMG as “LifeZette” per the Website’s Terms of Use page, detailing IMG’s

         copyright infringements and Digital Millennium Copyright Act violations. A copy of the

         November 30, 2016 email and letter, excluding its exhibits, is attached hereto as Exhibit

         O.

52.      IMG gave Pierce and his counsel no response to the November 30, 2016 letter.

53.      On January 2, 2017, Pierce’s counsel emailed another letter to termsofuse@lifezette.com,

         again addressing IMG as “LifeZette,” discussing its continuing acts of copyright

         infringement and violations of the Digital Millennium Copyright Act. A copy of the

         January 2, 2017 email and letter, including its exhibits, is attached hereto as Exhibit P.

54.      IMG gave Pierce and his counsel no response to the January 2, 2017 letter.

55.      Since receiving the November 30, 2016 and January 2, 2017 letters, IMG has not altered

         the metatags associated with the Articles on the Website itself, where it continues to

         display the Photographs in connection with links to the Articles.



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56.   Since receiving the November 30, 2016 and January 2, 2017 letters, IMG has committed

      new acts of infringement by displaying copies of the Murray photograph or derivative

      images cropped from the Murray photograph in connection with the Generic Article, the

      Schilling Article, and the Candidates Article, on its Website and on third-party sites.

57.   After receiving notice of its infringing acts, when IMG continued to display and

      distribute the Photographs without Pierce’s identifying information, and with its own

      false claim of copyright ownership, it knew that it was providing false copyright

      management information, and did so with the intent to facilitate or conceal its own

      infringement, and to induce, enable, or facilitate infringement by third parties who share

      the Articles and Pierce’s associated Photographs online.

58.   Ingraham is personally, directly liable for copyright infringement for distributing and

      displaying the Photographs on Facebook, and is vicariously liable for each of IMG’s acts

      of copyright infringement and its violations of the Digital Millennium Copyright Act

      because at all times material hereto she was an executive officer and director of IMG and

      had the right and ability to supervise its activities and those of its Website, of which she

      was Editor-in-Chief and co-founder, and had a direct financial interest in those activities.

                                 STATEMENT OF CLAIMS

                                     COUNT ONE
                 Copyright Infringement against Ingraham Media Group
                                 The Rally Photograph

59.   Pierce incorporates by reference all allegations contained in this Complaint.

60.   IMG copied Pierce’s Rally photograph without Pierce’s authorization.




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61.   IMG displayed and distributed the Rally photograph on its Website and Facebook in

      connection with the Wikileaks Article, and caused its reproduction, display, and

      distribution on Facebook and other websites, without Pierce’s authorization.

62.   IMG’s copyright infringement of the Rally photograph was willful.

63.   Pierce is entitled to his damages, costs, and attorney’s fees as a result of IMG’s copyright

      infringement of the Rally photograph under 17 U.S.C. §§ 504 and 505.

64.   IMG and Ingraham are jointly and severally liable for IMG’s copyright infringement of

      the Rally photograph under 17 U.S.C. §§ 504(c).

                                    COUNT TWO
                 Copyright Infringement against Ingraham Media Group
                                The Murray Photograph

65.   Pierce incorporates by reference all allegations contained in this Complaint.

66.   IMG copied Pierce’s Murray photograph without Pierce’s authorization.

67.   IMG displayed and distributed the Murray photograph on its Website and on Facebook in

      connection with the Trump Article, the Decoy Article, the Lovefest Article, the Nasty

      Article, the Generic Article, the Candidates Article, and the Schilling Article, and caused

      the reproduction, display, and distribution of the Murray photograph on Facebook and

      other websites, without Pierce’s authorization.

68.   Pierce is entitled to his actual damages and any additional profits of IMG as a result of its

      infringements of the Murray photograph in connection with the Trump Article, the Decoy

      Article, the Lovefest Article, and the Nasty Article under 17 U.S.C. §§ 504(a) and (b).




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69.   Pierce is entitled to his damages, costs, and attorney’s fees as a result of IMG’s

      infringements of the Murray photograph in connection with the Generic Article, the

      Candidates Article, and the Schilling Article under 17 U.S.C. §§ 504 and 505.

70.   Ingraham is jointly and severally liable with IMG for its acts of copyright infringement of

      the Murray photograph including, because they were practical partners in the infringing

      acts, as to IMG’s profits attributable to the infringements.

                                     COUNT THREE
                     Copyright Infringement against Laura Ingraham
                                  The Rally Photograph

71.   Pierce incorporates by reference all allegations contained in this Complaint.

72.   Ingraham copied, displayed, and distributed the Rally photograph on Facebook in

      connection with the Wikileaks Article without Pierce’s authorization.

73.   Ingraham’s copyright infringement of the Rally photograph was willful.

74.   Ingraham is directly liable for her acts of copyright infringement of the Rally photograph.

75.   Ingraham is vicariously liable for IMG’s copyright infringement of the Rally photograph

      because she was an executive officer and director of IMG and had the right and ability to

      supervise its activities and those of its Website, of which she was Editor-in-Chief and co-

      founder, and because she had a direct financial interest in those activities.

76.   Pierce is entitled to his damages, costs, and attorney’s fees as a result of Ingraham’s

      infringements of the Rally photograph under 17 U.S.C. §§ 504 and 505.

77.   IMG and Ingraham are jointly and severally liable for Ingraham’s direct copyright

      infringement of the Rally photograph under 17 U.S.C. §§ 504(c).




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                                        COUNT FOUR
                        Copyright Infringement against Laura Ingraham
                                   The Murray Photograph

78.   Pierce incorporates by reference all allegations contained in this Complaint.

79.   Ingraham copied, displayed, and distributed the Murray photograph on Facebook in

      connection with the Trump Article, the Decoy Article, the Lovefest Article, the Nasty

      Article, the Generic Article, and the Schilling Article, without Pierce’s authorization.

80.   Ingraham is directly liable for her acts of copyright infringement of the Murray

      photograph in connection with those Articles.

81.   Ingraham is vicariously liable for IMG’s acts of copyright infringement of the Murray

      photograph in connection with those Articles and the Candidates Article because she was

      an executive officer and director of IMG and had the right and ability to supervise its

      activities and those of its Website, of which she was Editor-in-Chief and co-founder, and

      because she had a direct financial interest in those activities.

82.   Pierce is entitled to his actual damages and any additional profits of Ingraham as a result

      of Ingraham’s infringements of the Murray photograph in connection with the Trump

      Article, the Decoy Article, the Lovefest Article, and the Nasty Article under 17 U.S.C. §§

      504(a) and (b).

83.   Pierce is entitled to his damages, costs, and attorney’s fees as a result of Ingraham’s

      infringements of the Murray photograph in connection with the Generic Article and the

      Schilling Article under 17 U.S.C. §§ 504 and 505.




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84.     IMG is jointly and severally liable with Ingraham for her acts of copyright infringement

        of the Murray photograph including, because they were practical partners in the

        infringing acts, as to any profits by Ingraham attributable to the infringements.

                                         COUNT FIVE
      Violations of the Digital Millennium Copyright Act against Ingraham Media Group

85.     Pierce incorporates by reference all allegations contained in this Complaint.

86.     The Photographs are copyright-protected works under the Digital Millennium Copyright

        Act, 17 U.S.C. §§ 1201 et seq.

87.     Pierce is the sole and exclusive owner of all rights, title, and interest in and to the

        copyrights in the Photographs, subject to licenses he has issued, including without

        limitation the non-exclusive CC BY 2.0 License he has issued to the public to allow the

        free reproduction and display of the Photographs with proper attribution.

88.     Pierce conveyed copyright management information with the Photographs as defined in

        17 U.S.C. § 1202(c)(1)-(3), (6), including: the title and other information identifying the

        works; the name of, and other identifying information about, the author of the works; the

        name of, and other identifying information about, the copyright owner of the works; and

        the terms and conditions for use of the works.

89.     For example, on his Flickr page for each Photograph, Pierce provided the Photograph’s

        title (respectively, “Elizabeth Warren at a campaign rally” and “Elizabeth Warren and Tim

        Murray”); an identification of “Tim Pierce” as the copyright owner and photographer of

        the work; and a declaration of “Some rights reserved,” highlighted as a hyperlink to the




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      CC BY 2.0 License summary, which summary includes a hyperlink to the full CC BY 2.0

      License and informs licensees:

         Attribution — You must give appropriate credit, provide a link to the license,
         and indicate if changes were made. You may do so in any reasonable manner,
         but not in any way that suggests the licensor endorses you or your use.

90.   In violation of 17 U.S.C. § 1202(a), IMG knowingly, and with the intent to induce,

      enable, facilitate, or conceal copyright infringement, has provided and has distributed

      copyright management information for the Photographs that is false.

91.   IMG’s violations of 17 U.S.C. § 1202(a) are intentional, at a minimum, because despite

      receiving the November 28, 2016 and January 2, 2017 letters from Pierce’s counsel, IMG

      continued to display and distribute copies of the Photographs on its Website, without

      license and without attribution, in connection with the Articles.

92.   In violation of 17 U.S.C. § 1202(b), IMG, without the authority of the copyright owner

      Pierce or the law, intentionally removed or altered copyright management information for

      the Photographs, knowing or having reasonable grounds to know that doing so would

      induce, enable, facilitate, or conceal an infringement of a right under Title 17 of the

      United States Code.

93.   In violation of 17 U.S.C. § 1202(b), IMG, without the authority of the copyright owner

      Pierce or the law, distributed copyright management information for the Photographs

      knowing that said copyright management information had been removed or altered

      without the authority of Pierce or the law, knowing or having reasonable grounds to know

      that doing so would induce, enable, facilitate, or conceal an infringement of a right under

      Title 17 of the United States Code.


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94.   In violation of 17 U.S.C. § 1202(b), IMG, without the authority of the copyright owner

      Pierce or the law, distributed copies of the Photographs knowing that the copyright

      management information had been removed or altered without the authority of Pierce or

      the law, knowing or having reasonable grounds to know that doing so would induce,

      enable, facilitate, or conceal an infringement of a right under Title 17 of the United States

      Code.

95.   IMG has violated 17 U.S.C. § 1202 by copying, distributing, and displaying the

      Photographs in connection with each of the eight Articles on its own Website, and in

      connection with its links to seven of the Articles (each Article other than the Candidates

      Article) on Facebook, and again in connection with its links to at least two of the Articles

      (the Generic Article and the Schilling Article) on Twitter. IMG has thereby committed at

      least seventeen violations of 17 U.S.C. § 1202 with respect to the Photographs.

96.   Pierce is injured by IMG’s falsification, removal, or alteration of his copyright

      management information, which has induced, enabled, or facilitated further infringements

      of his copyrights by thousands of Website users.

97.   Pierce is entitled to an award of his damages, costs, and reasonable attorney’s fees against

      IMG under 17 U.S.C. §§ 1203(b)(3)-(5).

                                       COUNT SIX
      Violations of the Digital Millennium Copyright Act against Laura Ingraham

98.   Pierce incorporates by reference all allegations contained in this Complaint.

99.   Ingraham is vicariously liable for each of IMG’s violations of 17 U.S.C. § 1202 in

      connection with each of the Articles because she was an executive officer and director of



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       IMG and had the right and ability to supervise its activities and those of its Website, of

       which she was Editor-in-Chief and co-founder, and because she had a direct financial

       interest in those activities.

100.   Ingraham is jointly and severally liable with IMG, for each of its violations of 17 U.S.C.

       § 1202, for an award to Pierce for his damages, costs, and reasonable attorney’s fees

       under 17 U.S.C. §§ 1203(b)(3)-(5).

                                       RELIEF REQUESTED

WHEREFORE, Plaintiff seeks the following remedies:

1.     Enter judgment for Pierce against the defendants IMG and Ingraham on all counts;

2.     Find IMG and Ingraham jointly and severally liable for all damages, costs, attorney’s

       fees, and interest available in this action;

3.     Grant a permanent injunction restraining IMG and Ingraham from any further unlicensed

       use of the Photographs, pursuant to 17 U.S.C. §§ 502 and 1203(b)(1);

4.     Require IMG and Ingraham to pay Pierce the actual damages he has sustained as a result

       of their infringements of the Murray photograph in connection with the Trump Article,

       the Decoy Article, the Lovefest Article, and the Nasty Article, and all of their profits

       attributable to those infringements, pursuant to 17 U.S.C. § 504(b);

5.     Require IMG and Ingraham to pay an award of statutory damages to Pierce in a sum not

       less than $750 nor more than $30,000 for their infringements of the Murray photograph

       in connection with the Generic Article, the Candidates Article, and the Schilling Article,

       as the Court considers just, or, if the Court finds that the infringements were committed

       willfully, a sum up to and including $150,000, pursuant to 17 U.S.C. § 504(c);


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6.     Require IMG and Ingraham to pay an award of statutory damages to Pierce in a sum not

       less than $750 nor more than $30,000 for their infringements of the Rally photograph, as

       the Court considers just, or, if the Court finds that the infringements were committed

       willfully, a sum up to and including $150,000, pursuant to 17 U.S.C. § 504(c);

7.     Require IMG and Ingraham to pay Pierce his full costs, including a reasonable attorney’s

       fee, pursuant to 17 U.S.C. § 505;

8.     Require IMG and Ingraham to pay an award of statutory damages to Pierce for IMG’s

       violations of 17 U.S.C. § 1202, in a sum not less than $2,500 nor more than $25,000 per

       violation, pursuant to 17 U.S.C. §§ 1203(b)(3), 1203(c)(1)(B), and 1203(c)(3)(B);

9.     Require IMG and Ingraham to pay Pierce his costs pursuant to 17 U.S.C. § 1203(b)(4);

10.    Require IMG and Ingraham to pay Pierce his reasonable attorney’s fees pursuant to 17

       U.S.C. § 1203(b)(5);

11.    Award pre-judgment and post-judgment interest to Pierce;

12.    Award such other relief as this Court deems just and proper.

                                         JURY DEMAND

       Plaintiff hereby demands a trial by jury in this case on all issues so triable.



Dated: October 6, 2017                            TIMOTHY PIERCE

                                                  /s/ John D. Mason
                                                  John D. Mason (D.C. Bar No. 464072)
                                                  COPYRIGHT COUNSELORS, LLC
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                                                  Bethesda, MD 20814
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                                /s/ Daniel G. Booth
                                Daniel G. Booth (BBO No. 672090)
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                                Pro Hac Vice Admission Pending

                                Attorneys for Plaintiff




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Clarification of Response (if Necessary):


Last Name                            First Name                           Middle Name
Anthony                              Peter
Street Address 1                     Street Address 2
4070 52ND STREET NW
City                                 State/Province/Country               ZIP/PostalCode
WASHINGTON                           DISTRICT OF COLUMBIA                 20016
Relationship: X Executive Officer X Director     Promoter

Clarification of Response (if Necessary):


4. Industry Group

   Agriculture                                 Health Care                    Retailing
   Banking & Financial Services                  Biotechnology
                                                                              Restaurants
      Commercial Banking                         Health Insurance             Technology
      Insurance
                                                 Hospitals & Physicians          Computers
      Investing
      Investment Banking                         Pharmaceuticals                 Telecommunications

      Pooled Investment Fund                     Other Health Care               Other Technology
      Is the issuer registered as              Manufacturing                  Travel
      an investment company under
                                               Real Estate                       Airlines & Airports
      the Investment Company
      Act of 1940?                               Commercial                      Lodging & Conventions
         Yes                 No
                                                 Construction                    Tourism & Travel Services
      Other Banking & Financial Services
                                                 REITS & Finance                 Other Travel
   Business Services
                                                 Residential               X Other
   Energy
      Coal Mining                                Other Real Estate

      Electric Utilities

      Energy Conservation

      Environmental Services

      Oil & Gas

      Other Energy


5. Issuer Size
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Revenue Range                  OR             Aggregate Net Asset Value Range
   No Revenues                                  No Aggregate Net Asset Value
   $1 - $1,000,000                              $1 - $5,000,000
   $1,000,001 -
                                                $5,000,001 - $25,000,000
   $5,000,000
   $5,000,001 -
                                                $25,000,001 - $50,000,000
   $25,000,000
   $25,000,001 -
                                                $50,000,001 - $100,000,000
   $100,000,000
   Over $100,000,000                            Over $100,000,000
X Decline to Disclose                           Decline to Disclose
   Not Applicable                               Not Applicable

6. Federal Exemption(s) and Exclusion(s) Claimed (select all that apply)


                                                  Investment Company Act Section 3(c)
    Rule 504(b)(1) (not (i), (ii) or (iii))
                                                  Section 3(c)(1)           Section 3(c)(9)
    Rule 504 (b)(1)(i)
                                                  Section 3(c)(2)           Section 3(c)(10)
    Rule 504 (b)(1)(ii)
    Rule 504 (b)(1)(iii)                          Section 3(c)(3)           Section 3(c)(11)

    Rule 505                                      Section 3(c)(4)           Section 3(c)(12)
 X Rule 506(b)
                                                  Section 3(c)(5)           Section 3(c)(13)
    Rule 506(c)
                                                  Section 3(c)(6)           Section 3(c)(14)
    Securities Act Section 4(a)(5)
                                                  Section 3(c)(7)


7. Type of Filing

X New Notice Date of First Sale 2014-11-21        First Sale Yet to Occur
   Amendment

8. Duration of Offering

Does the Issuer intend this offering to last more than one year?      Yes X No

9. Type(s) of Securities Offered (select all that apply)

X Equity                                                           Pooled Investment Fund Interests
   Debt                                                            Tenant-in-Common Securities
   Option, Warrant or Other Right to Acquire Another
                                                                   Mineral Property Securities
   Security
   Security to be Acquired Upon Exercise of Option,
                                                              X Other (describe)
   Warrant or Other Right to Acquire Security
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                                                                  Offer and sale of Series Seed Preferred Stock and the underlying
                                                                  shares of Common Stock issuable upon conversion thereof.

10. Business Combination Transaction

Is this offering being made in connection with a business combination transaction,
                                                                                             Yes X No
such as a merger, acquisition or exchange offer?

Clarification of Response (if Necessary):

11. Minimum Investment

Minimum investment accepted from any outside investor $0 USD

12. Sales Compensation

Recipient                                                 Recipient CRD Number X None

                                                          (Associated) Broker or Dealer CRD
 (Associated) Broker or Dealer X None                                                                    X None
                                                          Number
Street Address 1                                         Street Address 2
                                                                                                                   ZIP/Postal
City                                                     State/Province/Country
                                                                                                                   Code
 State(s) of Solicitation (select all that
 apply)                                         All
                                                              Foreign/non-US
 Check “All States” or check individual         States
 States

13. Offering and Sales Amounts

Total Offering Amount          $7,000,000 USD or     Indefinite
Total Amount Sold              $2,850,000 USD
Total Remaining to be Sold $4,150,000 USD or         Indefinite

Clarification of Response (if Necessary):

14. Investors

    Select if securities in the offering have been or may be sold to persons who do not qualify as
    accredited investors, and enter the number of such non-accredited investors who already have
    invested in the offering.
    Regardless of whether securities in the offering have been or may be sold to persons who do not       6
    qualify as accredited investors, enter the total number of investors who already have invested in the
    offering:

15. Sales Commissions & Finder's Fees Expenses

Provide separately the amounts of sales commissions and finders fees expenses, if any. If the amount of an expenditure is
not known, provide an estimate and check the box next to the amount.

                Sales Commissions $0 USD           Estimate
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1996)] imposes on the ability of States to require information. As a result, if the securities that are the subject of this Form D are "covered securities" for purposes of NSMIA,
whether in all instances or due to the nature of the offering that is the subject of this Form D, States cannot routinely require offering materials under this undertaking or
otherwise and can require offering materials only to the extent NSMIA permits them to do so under NSMIA's preservation of their anti-fraud authority.
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